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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LVMH SWISS MANUFACTURES SA and
HUBLOT SA,                                           Case No. 18-cv-06067

               Plaintiffs,                           Judge Charles P. Kocoras
v.
                                                     Magistrate Judge M. David Weisman
XIONGAI LONG, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs LVMH

Swiss Manufactures SA (“Tag Heuer”) and Hublot SA (“Hublot”) (together, “Plaintiffs”), hereby

dismiss this action with prejudice against the following Defendant:

                             Defendant Name                       Line No.
                                GFS Store                            83

Dated this 14th day of June 2019.             Respectfully submitted,


                                              /s/ Allyson M. Martin_____________
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                                              Justin R. Gaudio
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